    Case 6:23-cv-00013 Document 27-1 Filed on 03/31/23 in TXSD Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

STATE OF TEXAS,                                  )
GUN OWNERS OF AMERICA, INC.,                     )
GUN OWNERS FOUNDATION, and                       )
BRADY BROWN,                                     )
                                                 )    Case No. 6:23-cv-00013
   Plaintiffs,                                   )
                                                 )
      v.                                         )
                                                 )
BUREAU OF ALCOHOL, TOBACCO,                      )
FIREARMS AND EXPLOSIVES, UNITED                  )
STATES DEPARTMENT OF JUSTICE, and                )
STEVEN M. DETTELBACH in his official             )
capacity AS THE DIRECTOR OF ATF,                 )
                                                 )
   Defendants.                                   )

                         ORDER INCREASING WORD LIMIT


      On Plaintiffs’ unopposed motion, the word limit for their Reply in Support of their

Motion for Preliminary Injunction is increased to 10,000 words.

      Signed: _________________________________, 2023.




                                                 _________________________________
                                                 Drew S. Tipton
                                                 United States District Judge




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